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                                  2                              IN THE UNITED STATES DISTRICT COURT

                                  3                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                  4

                                  5      MICRON TECHNOLOGY, INC.,                        Case No. 17-cv-06932-MMC
                                                         Plaintiff,                      ORDER GRANTING DEFENDANTS'
                                  6
                                                                                         MOTION TO STAY
                                                   v.
                                  7
                                                                                         Re: Dkt. No. 204
                                  8      UNITED MICROELECTRONICS
                                         CORPORATION, et al.,
                                  9                      Defendants.
                                  10

                                  11          Before the Court is defendants United Microelectronics Corp. ("UMC") and Fujian

                                  12   Jinhua Integrated Circuit Co., Ltd.'s ("Jinhua") Motion, filed May 23, 2019, "to Stay Civil
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                                  13   Action Pending Resolution of Criminal Proceedings," whereby defendants seek a stay of

                                  14   the above-titled action pending resolution of a criminal case, specifically, United States v.

                                  15   United Microelectronics Corp., et al., CR 18-465. Plaintiff Micron Technology, Inc.

                                  16   ("Micron") has filed opposition, to which defendants have replied. Having read and

                                  17   considered the parties' respective written submissions, the Court rules as follows. 1

                                  18                                           BACKGROUND

                                  19          In the instant case, Micron, a company that manufacturers "Dynamic Random

                                  20   Access Memory ('DRAM') integrated circuits" (see SAC ¶¶ 1, 8), alleges that "UMC and

                                  21   Jinhua conspired to induce former MMT employees to misappropriate electronic and

                                  22   paper files containing Micron trade secrets from MMT and to deliver those trade secrets

                                  23   to UMC" (see SAC ¶ 3.b),2 and that UMC and Jinhua's "co-conspirators" in such

                                  24   endeavor included Stephen Chen ("Chen"), who initially was UMC's Senior Vice

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                                                  By order filed July 10, 2019, the Court took the matter under submission.
                                  27          2
                                             "MMT" is a reference to Micron Memory Taiwan Co., Ltd., a subsidiary of Micron.
                                  28   (See SAC ¶ 3.a.)
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                                  1    President and later became Jinhua's President (see SAC ¶¶ 13-14), J.T. Ho ("Ho"),

                                  2    UMC's Process Integration Manager (see SAC ¶ 16), and Kenny Wang ("Wang"), who

                                  3    initially worked in UMC's New Business Development Unit and later became the manager

                                  4    of UMC's Device Department (see SAC ¶¶ 17, 87). Micron also alleges that, in

                                  5    furtherance of said conspiracy, Chen "recruit[ed] various MMT personnel with access to

                                  6    Micron trade secrets" (see SAC ¶ 69), that Ho and Wang took "Micron trade secrets"

                                  7    from MMT prior to resigning therefrom and beginning their respective employments with

                                  8    UMC (see SAC ¶¶ 16-17) and that "UMC then incorporated Micron's trade secrets into

                                  9    technologies that it transferred and/or plans to transfer to Jinhua to enable Jinhua to

                                  10   mass produce advanced DRAM products" (see SAC ¶ 3.c). Additionally, Micron alleges,

                                  11   "UMC and Jinhua have been using Micron's stolen trade secrets to file joint patent

                                  12   applications with the United States Patent and Trademark Office." (See SAC ¶ 4.)
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                                  13          In the above-referenced criminal case, the United States has charged UMC,

                                  14   Jinhua, Chen, Ho, and Wang with violating 18 U.S.C. §§ 1831(a) and 1832(a), based on

                                  15   the same allegations set forth in the instant civil case, i.e., the acquisition, use and

                                  16   disclosure of Micron's trade secrets. (See Indictment, CR 18-465 (hereinafter,

                                  17   "Indictment"), ¶¶ 3-6, 8-9, 18, 20, 24-25, 32, 35-45.)

                                  18                                            DISCUSSION

                                  19          A court has discretion to stay a civil case in favor of a criminal prosecution. See

                                  20   Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995). In considering

                                  21   whether a stay is appropriate, a court "should consider the extent to which the

                                  22   defendant's fifth amendment rights are implicated," and, in addition, "should generally

                                  23   consider the following factors: (1) the interest of the plaintiffs in proceeding expeditiously

                                  24   with [the civil] litigation or any particular aspect of it, and the potential prejudice to

                                  25   plaintiffs of a delay; (2) the burden which any particular aspect of the [civil] proceedings

                                  26   may impose on defendants; (3) the convenience of the court in the management of its

                                  27   cases, and the efficient use of judicial resources; (4) the interests of persons not parties

                                  28   to the civil litigation; and (5) the interest of the public in the pending civil and criminal
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                                  1    litigation." See id. at 324-25. The Court first considers the initial, unenumerated, factor,

                                  2    specifically, whether Fifth Amendment rights are implicated.

                                  3           As set forth in the operative civil complaint, as well as the Indictment, the key

                                  4    allegedly wrongful acts of UMC and Jinhua, i.e., the acquisition, use, and disclosure of

                                  5    Micron's alleged trade secrets, are those of Chen, Ho, and Wang, the individual

                                  6    defendants in the criminal case, and, consequently, it is likely said individual criminal

                                  7    defendants will be called as witnesses in the civil case. Additionally, as both the civil and

                                  8    criminal actions allege a company-wide conspiracy, UMC and Jinhua officers and

                                  9    employees other than said three individuals likewise are likely to be called as witnesses

                                  10   in the civil case. Although neither UMC nor Jinhua has a Fifth Amendment right against

                                  11   self-incrimination, see United States v. White, 322 U.S. 694, 698-99 (1944) (holding

                                  12   privilege against self-incrimination "appl[ies] only to natural individuals" and "cannot be
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                                  13   utilized by or on behalf of any organization, such as a corporation"), each undoubtedly

                                  14   will need to rely on testimony from Chen, Ho, and Wang, as well as other officers and

                                  15   employees, who undoubtedly will assert their respective privileges against self-

                                  16   incrimination as long as the criminal case is ongoing.3

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                                  18          3
                                                On April 23, 2008, Judge Jeffrey S. White, to whom the instant case was earlier
                                  19   assigned, afforded Micron leave to conduct limited jurisdictional discovery pertaining to
                                       UMC (see Order Granting Pl.'s Req. for Jurisdictional Discovery at 1:21-26), after which
                                  20   Micron then deposed Chen and Ho (see Clark Decl. Exs. 1, 2). Micron argues Chen and
                                       Ho, having provided such testimony, "cannot claim a significant burden on their own
                                  21   privilege." (See Pl.'s Opp. at 6:25-26). The Court disagrees. Chen testified he did not
                                       know whether UMC ever possessed "Micron technical documents on DRAM technology"
                                  22   (see Clark Decl. Ex. 1 at 15) and Ho testified that, during the time he was working for
                                       UMC, he had Micron documents on his computer (see id. Ex. 2 at 32:16-33:21).
                                  23   Assuming such testimony constitutes a waiver of the privilege for those matters as to
                                       which Chen and Ho respectively testified, there is no showing that either Chen or Ho
                                  24   waived the privilege as to other key allegations in the Indictment, such as Chen's having
                                       engaged in criminal acts on behalf of Jinhua (see, e.g., Indictment ¶¶ 17, 34), Ho's
                                  25   having recruited Wang to unlawfully acquire Micron trade secrets (see Indictment ¶¶ 8,
                                       25), and Ho's having used Micron trade secrets to purportedly invent devices and/or
                                  26   methods (see Indictment ¶¶ 32, 45). See Mitchell v. United States, 526 U.S. 314, 321,
                                       325 (1999) (holding "privilege is waived for the matters to which the witness testifies"
                                  27   only; finding defendant who pleaded guilty to conspiracy to distribute cocaine did not, by
                                       such admission, waive her privilege not to answer questions at sentencing as to amount
                                  28   of cocaine she conspired to distribute).

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                                  1           In sum, the risk of prejudice to UMC and Jinhua arising from an inability to obtain

                                  2    testimony from individuals who have the right not to incriminate themselves is substantial.

                                  3    See, e.g., Taylor, Bean & Whitaker Mortgage Corp. v. Triduanum Financial, Inc., 2009

                                  4    WL 2136986, at 3 (E.D. Cal. July 15, 2009) (holding, where corporation's directors and

                                  5    officers had been indicted for engaging in same conduct for which civil plaintiff sought to

                                  6    hold corporation liable, corporation was "likely to be greatly prejudiced in [its] ability to

                                  7    meaningfully defend itself in the civil matter"); Mr. Dee's, Inc. v. International Outsourcing

                                  8    Services, LLC, 2008 WL 4853601, at *1 (E.D. Wis. November 3, 2008) (holding where

                                  9    corporation, "to mount an effective defense" to civil action, needed testimony from

                                  10   indicted officers and employees, "risk of prejudice" to corporation "arising from an inability

                                  11   to access key information and witnesses" was "substantial"). The Court next turns to the

                                  12   five enumerated factors.
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                                  13          Micron's interest in proceeding with the civil case in an expeditious manner is, of

                                  14   course, significant, particularly in light of Micron's allegation that UMC and Jinhua intend

                                  15   to use Micron's trade secrets to develop DRAM products that would compete with

                                  16   Micron's DRAM products. As UMC and Jinhua point out, however, Micron's concern as

                                  17   to competition has been at least in part addressed by action taken relatively recently by

                                  18   the federal government. In particular, the United States Department of Commerce has,

                                  19   as of October 30, 2018, placed Jinhua on its "Entity List," thereby prohibiting anyone from

                                  20   exporting or transporting to Jinhua "items subject to the EAR [Export Administration

                                  21   Regulations]" without a license and further imposing a "presumption of denial" as to any

                                  22   license request. See 83 FR 54519-02, 2018 WL 5425570.4 Consequently, as a practical

                                  23   matter, Jinhua's ability to manufacture DRAM products has been greatly diminished if not

                                  24   entirely foreclosed.

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                                  26          4
                                                "Items" subject to the EAR include "[a]ll items in the United States," as well as
                                  27   "[a]ll U.S. origin items wherever located" and certain types of "[f]oreign-made
                                       commodities." See 15 C.F.R. § 734.3(a). UMC and Jinhua assert, and Micron has not
                                  28   disputed, DRAM technology is subject to the EAR.

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                                  1           To the extent Micron asserts it has been harmed by public disclosures of its trade

                                  2    secrets, specifically, UMC and Jinhua's alleged disclosure of Micron trade secrets in

                                  3    patent applications that have been made public (see, e.g., SAC ¶¶ 92-95, 100),5 such

                                  4    harm may be remedied by monetary damages or, as Micron alternatively seeks (see

                                  5    SAC, Prayer for Relief at 46:12-14), an order directing ownership of UMC/Jinhua patents

                                  6    based on Micron trade secrets be transferred to Micron, if it obtains a judgment in its

                                  7    favor.6 Further, although a stay may create a risk of fading memories, any such risk is

                                  8    less where, as here, the key witnesses in the civil case are likely to be called as key

                                  9    witnesses in the criminal case, thereby preserving their testimony. See, e.g., Volmar

                                  10   Distributors, Inc. v. New York Post Co., 152 F.R.D. 36, 40 (S.D. N.Y. 1993) (staying civil

                                  11   case in light of pending criminal case; observing, "due to the overlapping issues in the

                                  12   criminal and civil trials, the criminal justice system will help safeguard the evidence").
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                                  13          Next, as to the burden imposed on defendants by the civil case, the Court notes

                                  14   that, if the instant case were to proceed, UMC and Jinhua would be put in the position of

                                  15   having to publicly disclose, in filings such as motions, oppositions, and case management

                                  16   conference statements, the basis of their respective defenses in advance of the criminal

                                  17   trial, and such disclosures would likely be in excess of that to which the government

                                  18   would be entitled under the Federal Rules of Criminal Procedure. See Federal Insurance

                                  19   Co. v. Laney, 2013 WL 594267, at *3 (N.D. Cal. 2013) (staying civil case in favor of

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                                                Subject to certain exceptions, a patent application "shall be published," i.e., made
                                  22   available to the public, "promptly after the expiration of a period of 18 months from the
                                       earliest filing date for which a benefit is sought" or, upon request by the applicant, on an
                                  23   earlier date. See 35 U.S.C. § 122(b)(1).
                                              6
                                  24             In some cases, courts have found, as a factor weighing against a stay, the
                                       likelihood the defendant will dissipate assets during the stay. See, e.g., Cal-Cleve, Ltd. v.
                                  25   Wrag-Time Air Freight, Inc., 2005 WL 8157878, at *5 (C.D. Cal. May 20, 2005) (denying
                                       motion to stay civil case in favor of pending criminal investigation, where, inter alia,
                                  26   plaintiff "raised serious and justified concerns that [d]efendants [would] dissipate their
                                       assets during any period of stay"). Here, however, Micron does not assert that either
                                  27   UMC or Jinhua is likely to dissipate assets, including any current or future patents, so as
                                       to frustrate Micron's ability to obtain relief in the event the civil case is resolved in its
                                  28   favor.

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                                  1    criminal prosecution; finding, as factor weighing in favor of stay, "[a]llowing the civil

                                  2    proceedings to continue [would] permit the government to gain access to discovery that it

                                  3    would otherwise not have").

                                  4           Case management concerns also weigh in favor of a stay. Proceeding first with

                                  5    the criminal prosecution will make efficient use of judicial time and resources, as the vast

                                  6    majority of factual disputes pertaining to liability in the instant case are likely to be

                                  7    resolved in the course of the criminal case, and, although the civil case has been pending

                                  8    for approximately a year and a half, it remains at its early stages, given initial

                                  9    jurisdictional and venue challenges made by UMC and Jinhua. Further, to the extent

                                  10   there may remain a need to conduct some discovery following resolution of the criminal

                                  11   case, e.g., the extent of any loss incurred by Micron, such discovery will be able to

                                  12   proceed at that time unimpeded by limitations imposed by potential self-incrimination.
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                                  13          As to the remaining two factors, "the public interest is furthered by a stay 'because

                                  14   the public's interest in the integrity of the criminal case is entitled to precedence over the

                                  15   civil litigant.'" See Jones v. Conte, 2005 WL 1287017, at *2 (N.D. Cal. April 19, 2005)

                                  16   (quoting Javier H. v. Garcia-Botello, 218 F.R.D. 72, 75 (W.D. N.Y. 2003) (noting

                                  17   government's ability to restrict discovery in criminal cases would be circumvented by

                                  18   defendant's use of civil discovery)). Although the public also has a strong interest in the

                                  19   protection of trade secrets, see S. Rep. No. 114-220, 2016 WL 886187, at *2 (Senate

                                  20   Report citing findings that "annual losses to the American economy caused by trade

                                  21   secret theft are over $300 billion" and that such theft "is slowing the development of new

                                  22   inventions and industries that could raise the prosperity and quality of life for everyone"),

                                  23   and companies that presently compete in the same market as Micron have a strong

                                  24   interest in preserving the integrity of the market, see Cal-Cleve, 2005 WL 8157878, at *5

                                  25   (observing where civil plaintiff alleged defendant engaged in unfair business practices in

                                  26   "long distance ground freight transportation," non-parties who competed in said market

                                  27   had interest in resolution of plaintiff's claim), such interests are advanced by the pending

                                  28   criminal prosecution, which seeks to protect both the public's interest in protecting
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                                  1    Micron's trade secrets as well as the integrity of the DRAM market.

                                  2           In sum, the Court finds the relevant factors weigh in favor of a stay and,

                                  3    accordingly, defendant's motion will be granted.

                                  4                                          CONCLUSION

                                  5           For the reasons stated above, defendants' motion for a stay is hereby GRANTED,

                                  6    and the instant action is hereby STAYED pending the resolution of United States v.

                                  7    United Microelectronics Corp., et al., CR 18-465.

                                  8           Lastly, in light of the stay, the Case Management Conference scheduled for

                                  9    August 23, 2019, is vacated, and defendants' motion to dismiss the SAC, currently

                                  10   noticed for hearing on August 2, 2019, is deemed withdrawn, without prejudice to refiling

                                  11   after the stay is lifted.

                                  12          IT IS SO ORDERED.
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                                  14   Dated: July 11, 2019
                                                                                               MAXINE M. CHESNEY
                                  15                                                           United States District Judge
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